UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ELIZABETH “BETSY” COMBIER,
Plaintiff,

-against-

DOCKET NO.:
COMPLAINT

FRANCESCO PORTELOS, LUCIO CELLI, JURY TRIAL DEMANDED

BRYAN GLASS, ESQ., JORDAN HARLOW, ESQ.,
NEW YORK CITY DEPARTMENT OF EDUCATION,
CARMEN FARINA, CHANCELLOR OF THE

NEW YORK CITY DEPARTMENT OF EDUCATION,
all sued individually and officially,

Defendants
x

PLAINTIFF, ELIZABETH “BETSY” COMBIER, by h

 

Firm PLLC, AS AND FOR HER Complaint against Defe

follows:

PRELIMINARY STATEMENT

1.This is a civil action seeking injunctive relief, n

and on-going economic loss, compensatory and punitive

=r Attorneys the Luthmann Law

idants, respectfully alleges as

Nonetary relief, including past

damages, costs and fees for

violations of Constitutionally protected rights brought pursuant to: the First, Fifth,

Seventh, and Fourteenth Amendments to the United States
28 U.S.C. § 1331, §1343, §1367, Article 1, § 8, §11 of the
State law claims codified in the New York State Constitut
Civil Practice Law and Rules (“CPLR”) as they relate to:
and assembly; freedom from malice in law, from abu
prosecution, from defamation, from the tortious interferen

and from the intentional infliction of emotional harm.

Constitution; 42 U.S.C §1983,
New York State Constitution;
on as well as in the New York
support for freedom of speech
se of process and malicious

ice with business expectations

 
2. Specifically, Plaintiff alleges that the individ
disregard for Plaintiff's Constitutionally protected rights, wé
knowingly and purposefully, with malice, acting ulfra vires
cloak and in conspiracy with each other under color of st
of her protected rights by pursuing internet posters, std
media in order to deny Plaintiff her right to earn money

working for the Department of Education in favor of their ¢

3. Plaintiff seeks economic and compensatory dary
the extent allowable by law, and other appropriate legal «

federal, state and city laws.

JURISDICTION AND VE

4. This Court has subject matter jurisdiction pursua
Amendment to the Constitution, 42 U.S.C §1983, 18 U
against rights, 18 U.S. Code § 242 - Deprivation of rights
1331, as this case involves at least one federal question.

5. Venue Is appropriate, citing 28 U.S. Code § 139

conduct occurred from the home and person of Defendant

ual Defendants, with flagrant
antonly, recklessly, maliciously,
individually under a ministerial
ate law, have deprived Plaintiff
tements and letters on social
as an advocate for educators

ersonal gain.

ages and punitive damages to

and equitable relief pursuant to

NUE

nt to the Fourth and Fourteenth
.s. Code § 241 - Conspiracy

under color of law, 28 U.S.C. §

because the primary unlawful

Francesco Portelos, who lives

and runs his real estate company from Staten Island, County of Richmond.

6. This Court has the power to issue declaraton

§§2201 and 2202.

relief pursuant to 28 U.S.C.

7. This Court has pendent jurisdiction and supplemental jurisdiction over the state

law claims alleged in this Complaint pursuant to 28 U.S.C

8. Plaintiff previously served and filed a Notice of

2

§ 1367.

Claim on Defendants the New

 
York City Depariment of Education, Defendant Francesco
Ceili regarding her state and city law claims which has not \
to. Claim No. 2016P 1012684.
PARTIES
9. At all times relevant in this Complaint, Plaintiff (“F
COMBIER is an advocate and reporter residing in Manhat
relevant hereto Plaintiff is a consultant/reporter to newsp
and international groups, individuals and organizations inte
illegal actions of public and private individuals and courts.
that publishes stories of court corruption, and Editor of bic
as well as Federal and State Whistleblower Protection.
Plaintiff was a part-time consultant/advocate for the United
York City, whose responsibility it was to manage the cases
rooms throughout New York City. Currently Plaintiff is self-
for several attorneys in the New York City area.
10. At all times relevant herein, Defendant France
and is a public employee of Defendant the New York C

Portelos is a former environmental engineer/inspector tu

Portelos, and Defendant Lucio

fet been adjusted or responded

laintiff’) ELIZABETH “BETSY”

an, New York City. At all times

apers, online newsmagazines

rested in corruption, fraud, and

She is also Editor of a website

gs that deal with these issues

From August 2007-July 2010

Federation of Teachers in New

of UFT members in the rubber

employed as a paralegal/writer

sco Portelos (“Portelos”) was
ity Department of Education.

rned science and technology

teacher at the New York City Department of Education. While working at IS 49, he noticed

several acts of the Assistant Principal which looked to h

secretly videotaped several incidents, against the Depat

q

ae

students without their consent. Then, elected to the

confronted Principal Linda Hill for hiding money and them

 

m like abuse of students. He
tment policies of videotaping
chool Leadership Team, he

for misuse of her p-card. He
spoke out about Hill's harm to the kids and school, and v
3020-a arbitration in 2013. He was found guilty of harass
internet access, and using his computer skills for nefario
punishment was a fine of $10,000. As an employee of
Defendant Portelos is under the supervision and control

remained immune for any prosecution for his violation
decency, respect, and privacy. Ai all times relevant to this
was and remains, an employee of the NYC Department o
and is, under the Supervision of the Department and it’s r

11. Defendant Lucio Celli (“Celli”) is a teacher with

as removed and charged with
ment, ignoring privacy laws for
us purposes in April 2014. His
the Department of Education,
of the Department and yet has
of Department guidelines of
Complaint Defendant Portelos
f Education, and as such, was,
ules, regulations and policies.

the Department of Education.

He met Plaintiff in 2007 while he was reassigned to the Bronx rubber room, and Plaintiff

worked for the United Federation of Teachers, or UFT as

the Special Representative for

the rubber room teachers. He joined the Francesco Portelos group UFT Solidarity when

Francesco Portelos decided to run for UFT President, ar

d followed all the directives of

Defendant Porielos, including defaming Plaintiff and creating a national profile of Plaintiff

as a thief, evil fucking cunt, vicious old woman and the
Plaintiffs business. He used his Department email addres
as before and after official hours to do his dirty busine
employee of the Department of Education, Defendant Ce
control of the Department and yet has remained immu

violation of Department guidelines of decency, respect, ar

> like, with the goal of ending
s, during the school day as welll
ss to please Portelos. As an
li is under the supervision and
1é for any prosecution for his

d privacy. At all times relevant

to this Complaint Defendant Celli was and remains, an employee of the NYC Department

 
of Education, and as such, was, and is, under the Supervi

rules, regulations and policies.

42. Attorney Bryan Glass (“Glass”) is a lawyer whe

he knew as a well-known advocate for teachers, to as

hearings and to train his Associate Defendant Jordan Harl

Glass was hired by Portelos in 2012 to file a Federal Laws

Portelos’ Principal at IS 49, Linda Hill. The case went to aj

has Appealed to the Court of Appeals and remains Portel

13. Plaintiff gave Glass/Harlow five (5) cases to try

these cases as Harlow’s paralegal. The first three clien

incompetence. Client #4, B.K., was called into Defendanr
2014 and told by Defendant Glass and Defendant Harlow t
She did tell Plaintiff, who was shocked. Plaintiff was never
Giass and Harlow then told client #5 to resign or take a de
suspension and became an ATR. Defendants Glass ar
Plaintiff. He did, in December 2014. Defendants told K.C

she knew what she was doing, but did not, they said. Plain

sion of the Department and it's

in 2012 asked Plaintiff, whom
sist him at 3020-a arbitration
bw in how to do these hearings.
uit against the Department and
ury and Portelos lost, but Glass
os’ Attorney.

in 2012-2014, and worked on
ts were terminated due to his
t's office in or about February
o resign, but not to tell Plaintiff.
paid for her work on this case.
al, and he did take a very long
d Harlow told K.C. not to tell
, that Plaintiff was acting as if

tiff was never paid for her work

on that case. Defendant Glass allowed Defendant Portelos to create the campaign of

defamation, libel, and injurious falsehoods contained in the poster received by Plaintiff

October 11, 2016. Defendants Glass, Harlow, Portelos

Plaintiff from the very small group of teacher advocates in

work for themselves.

and Celli wanted to remove

New York City and take all the

 
14, Defendant Jordan Harlow (“Harlow’) is the A
arbitration for the Glass Krakower Law Firm. in 2013-20

3020-a hearings, but spoke badly about her behind her

ssaciate who works on 3020-a
14 he worked with Plaintiff on

pack. In May, 2016, Defendant

Harlow saw one of the 3020-a clients of Glass Krakower talking with Plaintiff in the waiting

room of 100 Gold Street, where hearings take place. Th
help her and to help Harlow, who, she felt, was not defent

15. Plaintiff was on another case with another attorr
so she turned the offer down. Immediately after, accordin
never to speak with Plaintiff, that everyone Plaintiff assiste
was not an Attorney and did not know what she was talk

2016, V.B. was so unhappy with Harlow’s work thai she fi

e client was asking Plaintiff to
ling her properly.

ey and could not take the case,
g to V.B., Harlow told his client
sd was terminated, and Plaintiff
ng about. On or about June 9,

fed him, and he threw all of her

papers at her face and stormed out. Defendant Harlow is under the supervision of

Defendant Glass, and works with Defendant Portelos in th
herein.

16. At all times relevant in this Complaint, Defend
of Education (“Department’) is currently and was an emp
Constitution of the State of New York and was a governn

of the laws, statutes, ordinances, regulations, policies, cu

e attacks on Plaintiff described

ant New York City Department
oyer within the meaning of the
nental entity acting under color

istoms and usages of the State

of New York. As such, the Department is liable for the defamatory injury to reputation of

Plaintiff, being subjected to injurious falsehoods, libe!, defamation, the tortious

interference with business expectations, and the intention

al infliction of emotional harm.

 
17. Plaintiff filed a Notice of Claim, Claim nun
Defendants for the ongoing harm done io her by the Dep
Plaintiff never received any response.

18. PLAINTIFF is informed and believes and bas
times mentioned, Defendants, in doing the things herein
the scope of their authority as agents and employees with
the law firm of Glass Krakower and the New York City De
10. PLAINTIFF is informed and believes and based the
mentioned, Defendants, in doing the things herein menti
work together in engaging in the wrongful conduct direct

wrongful acts caused resulting damage to PLAINTIFF, as

STATEMENT OF FACTS

 

19. Plaintiff alleges that the individual Defendant
Piaintiff her right to earn money as a non-lawyer advoc
creating a poster of her sent out to all teachers around the
York City and Los Angeles as a greedy, controlling thief a
and willing to steal the money from her clients without do
defame PLAINTIFF to such an extent that Defendants Brye
Jordan Harlow could benefit financially and take on all of |
other complaints of Educators. Individual Defendants
advocacy business and work without payment or, not work

be harmed by Plaintiff's fraudulent so-called “help”. In 201

nber 2016-P1012684 against

artment, Portelos and Harlow.

ed thereon alleges that, at all
mentioned, were acting within
the permission and consent of
partment of Education.

reon alleges that, at all times

oned, formed a partnership to

ed towards PLAINTIFF, which

further alleged herein.

s set up a conspiracy to deny
ate by characterizing her and
country but particularly in New
nd an “evil, fucking cunt” ready
ng any work. The goal was to
n Glass and his Law Associate
laintiff's Arbitration cases and
wanted Plaintiff to stop her
at all with educators who wouid

4 Plaintiff assisted in the 3020-

 
a of another teacher, L.B., who had originally asked for he
Harlow. L.B. was toid to hire a former principal, Virginia Nc
Glass. Noville charged L.B. huge prices to do the rebuita
up Ms. Noville and found out that she, Noville, had been
resigned. When, in 2014, Plaintiff asked Defendant Glass
never spoke with Plaintiff again.

20. Specifically, the plan created by DEFENDANT f

his Assistant, DEFENDANT Celli: Plan A was to stop Plair

Ip from Defendants Glass and
ville, to help her, by Defendant
s and binder, then L.B. looked
arrested in 1993 for fraud, and

why he worked with Noville, he

-ortelos worked as follows with

tiffs business and prevent her

from making any income as follows: a teacher would ask PLAINTIFF for help writing a

letter, or edit a complaint or whatever, knowing that P
anyone for free. Immediately following the completion of he
Portelos strategy was for the person who received the he
any amount, as payment for her help, despite the fact that
did not send any invoice. Then, the person would say that
return the check given as payment for work never done. V.
check, considering the money given as a gift for the servi
labelled a thief, and a liar. Plan B: knowing that Plaintiff w

for attorneys who work on 3020-a arbitration for teachers,

-AINTIFF would willingly help
21 help in the writing phase, the
Ip to send Plaintiff a check, for
Plaintiff asked no payment and
Plaintiff was told that she must
Vhen Plaintiff did not return the
ces she provided, Plaintiff was
as a very successful paralegal

individual Defendants decided

to broadcast a “fact” that they made up, namely that Plaintiff was practicing law without a

license and must be criminally prosecuted for working at
absolute falsehood. The individual Defendants encourag
States to extort money from Plaintiff citing a “pending pros

or do whatever favors requested for working on 3020-a ar

the table in 3020-a cases, an
ed anyone around the United
secution’” if she did not pay up,

bitration.

 
21. Portelos, after receiving his fine, decided to confront the Department head on,

with his social media expertise and disregard the warning
created a website called Don’t Tread on Educators, ar

Improvement, where any anonymous tip about the miscor

on the website. Truth did not matter. Arbitrator Busto, inh

wrote that: “Despite the provocative nature of his posting

process, there has been no showing that the notorie

reassignment “seriously compromised his ability to retain

be perceived as a responsible adult to whom they should

Goldin v. Board of Ed. 45 A.D.2d 870 (1974)” and added, “)

in his quest to defend himself, lost sight of the fact that th
and not his enemy. Notwithstanding the events of the las
refocus his energies on their shared mission of educating
$10,000 instead of terminating his employment. Then De
attacks on his employer and. He sent emails out during
Department and the UFT and then made a quest for UFT

Mulgrew. He failed, but put in place a defamation schem

given by Arbitrator Busto. He
id Administrators In Need of
duct of a principal was placed
=r 3020-a decision in his case,
s and airing of his disciplinary
ty regarding his charges or
the respect of students and to
pay attention.” See Maiter of
At the same time, Respondent,
© Department is his employer,
t two years, Respondent must
children”. Busto fined Portelos
fendant Portelos enlarged his
the school day to attack the
President, to replace Michael

= against Plaintiff which made

her an enemy of the State and a fraud, liar and criminal in retaliation for her being whai

he always wanted to be.
22. On or about August 25, 2015, Portelos had iur
Randi Weingarten. He asked for a job at the UFT and was
23. Portelos knew that Plaintiff had worked for the

and the Michael Mulgrew, and had done a good job. Furiot

ch with former UFT President
turned down.
UFT under Randi Weingarten

s at not being able to have the

 
same good fortune, Portelos decided to attack Plaintiff in

order to tell Randi Weingarten

he did not like the fact that she refused to hire him as hé told his friends and followers

was a sure thing.

24. On September 20, 2015, Portelos held a meetin
~ potential clients for Plaintiff — and invited Jim Callahan,
who worked with Plaintiff on the rubber rooms. Callaha
Plaintiff and the UFT during the time that Plaintiff worked
one should visit the rubber rooms because everyone was
put into their hearings and terminated. He resented Plair
she visited all the rubber rooms every day, actually helpin
out what was going on. Portelos videotaped Callahan’s ta

25. A few days later, Celli called Plaintiff and told he’

g of disgruntled UFT members
a former reporter for the UFT
n was a problem both for the
at the UFT. He insisted that no
guilty, and they should just be
tiffs position and the fact that
) the people sitting there figure
k.

r that he was sending the video

to her, and she was not going to like it because Portelos must have made a mistake, and

edited the tape so that Callahan accused Plaintiff of bein
man and knew that Plaintiff was no homophobe. Upon rev
Plaintiff saw that Portelos had deliberately made the
defamatory statement about Plaintiff as a person and
Plaintiff called Portelos and asked him why he did that, an
off the internet. Portelos told Plaintiff to leave him alone,
the UFT, not her.

26. Portelos then put in place his scheme to deny
advocacy work. He and Celli sent emails out to all who

page, his website, and other social media from November

10

g a homophobe. Celli is a gay
ewing the tape of the meeting,
video into a damaging and
as an advocate for teachers.
d he must take the video down

Callahan’s speech was about

Plaintiff her business and her
would listen, on his Facebook

2015 until the present, saying:

 
“...you stopped helping me directly with my lawsuit
in PERB. You know me, | don’t really think when I’m upset

Where is my money? You took and did not renders
recordings...” (Celli, December 30, 2015)

“We need to teach Betsy a lesson now....(Celli, Ja

“Yeah, this won't go well... With every UFT member

about Betsy?” and | respond “There are better peopie to

But, you continued to help me

(Celli, November 9, 2015).

ervices. | have many damaging

nuary, 2016):
and parent who asks me “VVhat

use than Betsy.” | have some

solace knowing that’s money out of her pocket. A lot of money.” (Porteios, January 20,

2076).
2/7. Laurie Luft, a close friend of Plaintiff, came und

after she defended Plaintiff. Portelos, in retaliation, revea

er attack on January 24, 2016,

led that she was on a medical

sabbatical to restore her health to all on Laurie’s ATR Support Facebook page members.

Then he sent this email out:
“Many are reporting the ill politics in Laurie’s group. It’s me
ATR issues. Good job Betsy. How’s business?” (Portelos
28. Celli, on February 27, 2016 stated:
“YOU, Betsy Combier, are an evil cunt......
and a wretched human being.”
29. To Laurie Luft, Francesco Portelos, Randi Weir

Jonathan Hinesley, Claudia Giordano and Lydia Howrilka

“Betsy threatened my lawsuit....You are only a chip

lamg

tre about Laurie than it is about

January 24, 2016}

lad | recorded you being a liar

igarten, Attorney Steve Morelli,

in Betsy’s evil plan

you got

my email from evil Combier to harass me...! only called Betsy evil and sick...”

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30. In March 2016 Celli sent emails to a mass grou
Vance, the Bronx DA, PERB, all the newspaper reporter
UFT and the Department of Education, saying:

“Ms. Combier told me the story of how she was hire
story fo me. Most interesting fact told by Ms. Combier, th

calls to agencies, like PERB, while she worked

conversions.....Ms. Combier is working with my lawyer 4

Ms. Combier informed me that she records conve

many 3020-a hearings. Somehow or someway we have

March 16, 2016, from his Department em

(08X519)’LCelli@schools.nyc.gov).

 

These emails created a very difficuit time for Plaintiff at 302

p, including Preet Bharara, Cy

Ss, everyone who works at the

ad at the UFT — not a plausible
e UFT made backdoor phone
for the Union — ex parte
nd helped my lawyer to lie to
rsations as well — she aitends
to force the truth out.” (Celli,
“Celli Lucio

ail address

0-a hearings, where arbitrators

were informed that she taped secretly, which is absolutely untrue. Plaintiff has never

taped anyone secretly at any hearing, anywhere. Plaintiff
backdoor calls to PERB. Celli knew that his statements we

31. On October 11, 2016 Plaintiff was sent a po

also never said anything about
sre lies.

ster created by DEFENDANT

Portelos via email from former client James Geist, a client also of Bryan Glass and Jordan

Harlow, with whom Plaintiff worked on Geist’s 3020-a Arbi

online at: www.tinyurl/Bets

https://docs google.com/forms/d/e/1FAIpQLSf icoyFOVL¢

QaDCKyrV71nGA4wiviewferm.

 

32. Geist, in a prior email also in October 2016, saic

group founded by Defendant Portelos, accused Plaintiff of

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tration. This poster is available

vCombier, and

UVSISHLZFEVYk25kWHTreGte

in an email sent to the listserv

being the person who got him

 
terminated from his job at the NYC Department of Educati
to all the educators on the Portelos listserv, to become a
Geist paid Harlow and Glass to do his 3020-a and Appe
lost in the Supreme Court. Glass and Harlow posted tt
Winters in their Exhibits, with Geist’s social security numk
Geist on her website without the social security number,
might harm Geist. Suddenly, on October 11, 2016, ¢
mentioned poster, which was created by Defendant Porte
from the TV Show “Lawline”, which Bryan Glass had sug
him, and the title “Have You Ever Paid For Legal Advice/V
if so, then you must get your money back because Com
The date of creation of this poster is unknown. Geist th
charges if she did not take down the post on her website F
told her that he would join “the others” in this lawsuit. PI
security number was in the Court papers filed by Defenda
not on her website. The error was Defendants Glass and k

33. On October 19, 2016, Portelos sent out an emé

“Friends and Colleagues, please be careful. Unfc

Betsy Combier lost another case where she allegedly pro

bn, and sent this fake news out
player in the Portelos scheme.
al of his termination, which he
ne decision of Arbitrator Marc
er. Plaintiff put the decision of
mindful of identity thieves who
seist sent Plaintiff the above

os, and showed Plaintiff's face

gested she be on camera with

Vork To Betsy Combier?” And,
bier is a thief and a pretender.
reatened Plaintiff with criminal
arentadvocates.org, and Geist
aintiff told Geist that his social
nt Harlow or Defendant Glass,
arlow’s mistake, not Plaintiff's.
il across the country stating:

ortunately, so called advocate

vided illegal legal consultation

for a New York City UFT member in a 3020-a hearing, something she does not share on

her site. Just be vigilant.
34, Apparently, others have been warning about this

been burned, join the others in the complaint. We have en

13

for some time. and if you have

dugh trouble with our employer

 
and union. We don’t need another

www.tinyurl. comBetsyCombier”

 

Portelos attached the poster saying that Plaintiff st

But that’s not ail. Portelos” also
nycrubberroomreportercom. blogspot.com, saying:

“Has Elizabeth Betsy Combier lost her attempt to
City Church? It seems that Judge O. Peter Sherwood has

Which refers to the theft by Plaintiff's church, Madis
estate and ashes of Plaintiff's mother after the death of !
Plaintiff tried to get the estate back, and suffered heart fai

35. This allusion to her stealing from her church —
all her clients, was extremely upseiting to Plaintiff who in
had cancer surgery.

36. This blog was never created or worked on b
articles from Plaintiff's blog NYC Rubber Room Reporter, ¢
material, and then put as the owner of the blog Plaintiff's F
Foundation, with her home address and telephone numb

about this blog as she is not an administrator, and does r

obstacle when

attached

it comes fo surviving.

ole money.

a blogspot called
grab money from a New York
seen through.....
on Avenue Presbyterian, of the
ver mother on March 15 1998,
jure on July 22, 2006.

in addition to her stealing from

January was hospitalized and

Plaintiff, but Portelos posted
tered these posts with his own
pundation, the E-Accountability
er, Plaintiff cannot do anything

ot know Word press. In March

2017 Plaintiff was threatened with a federal lawsuit if she did not remove a picture on this

biog. The photographer claimed that Plaintiff owed him m
Plaintiff did not do that.

3/7. Celli filed a Federal Lawsuit against severa

oney for posting the photo, but

Department employees, and

attacked Piaintiff, begging Judge Cogan to attack her as well (15-cv-3679 (BMC)(LB)). In

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document 56 filed December 29, 2016 Celli claimed that
pulled in favors to prevent Celli from winning in Court,
assisting Celli with his Complaint (which is untrue, Plain
Complaint), and, in other documents, that Plaintiff was a “
38. Defendants Portelos and Celli are teachers at

of Education. One of the policies of the Department is th
emails during the school day using their DOE email and
under unusual circumstances. Yet the New York City
ignored the extremely inappropriate mass emails from |
Celli. Thus, the NYC DOE allows Defendants Portelos and
Plaintiff without any repercussions and is complicit in the s
is a pattern and practice for Defendants Portelos and Ce
are racist, degrading and insulting, without any facts upon
39. Plaintiff's invocation of the equitable powers o
based upon a pattern, practice, custom and policy of bad
and unlawful use of the internet to further a corrupt sch
Defendants against Plaintiffs person and property.
FIRST CAUSE OF ACTION

Violations of 42 U.S.C. 1982

(As against all Defendants)

40.Plaintiff repeats and realleges each and ever
through 39 of this complaint, inclusive, and incorporates the
fully set forth herein.

41. In abusing their official and individual duties as

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Plaintiff and Randi Weingarten

that Plaintiff practiced law by
iff did not assist Celli with his
owlife”.

he New York City Department
at no employee can send out
or the DOE computers unless
Jepartment of Education has
‘rancesco Portelos and Lucio
Celli to defame, libel, and scar
chemes described herein. This
li, who send out emails which
which to base their claims.

f this Court is just and proper
faith, harassment, defamation

eme created and pursued by

y allegation in paragraphs 1

same by reference, as though

role models for students at the

 
Department on how to use social media and have respec
as described above, Defendants Celli and Porielos acted
continuous harassment of Plaintiff via websites, blog
TWITTER account, and emails under their control.

42. Defendants the Department, Glass and Harlo
and defamation, yet did nothing to stop either Portelos o
and thus allowed the defamation of Plaintiff for actions the
to end Plaintiff's advocacy work in favor of Portelos, Glas
advocates.

43. As a direct and proximate result of the Defer
Plaintiff has suffered general and special damages incluc
Plaintiffs reputation, emotional distress, lost earnings, an

44. Plaintiff is informed and believes and based th
in the conduct alleged herein, defendants (a) acted with
and harass Plaintiff, (b) subjected Plaintiff to cruel and

disregard of Plaintiff's rights, and (c) intentionally misrepre

tful exchanges on the internet,
under color of state law in their

s, facebook pages, Portelos'’

w knew about the harassment
r Cell’'s harassment of Plaintiff
y knew she did not perform, all

3, and Harlow working as “true”

dants’ conduct alleged herein,
ling, without limitation, harm to
d other pecuniary loss.

=reon alleges that, in engaging
the intent to injure, vex, annoy
unjust hardship in conscious

sented and concealed material

facts known to the defendants with the intention on the part of the defendants of thereby

depriving Plaintiff of her legal rights and otherwise cause |
foregoing, plaintiff is entitled to exemplary and punitive da
SECOND CAUSE OF ACTIC

False Light Invasion of Priva
(As Against All Defendants

45. Plaintiff repeats and realleges each and eve

through 44 inclusive, of this Complaint and incorporates th

16

Plaintiff injury. As a result of the
mages against Defendants.

dN
cy

ry allegation in Paragraphs 1

= same by reference, as though

 
fully set forth herein.

46. Defendant's partnership of harm declaring, v
Plaintiff was a thief and undeserving of helping any te
supposedly “stealing” from her church, was highly offensiv
a reasonable person standard.

47. By consistently and relentlessly painting Plaintif
self-absorbed, Defendants purposefully and with malic
offensive false light.

48. Defendants intended to paint PLAINTIFF as

allegations to gain money and prestige at Plaintiff's expen

vithout any fact or truth, that

acher, anywhere, as well as

e and objectionable, judged by

as a liar, as dishonest, and as

> placed Plaintiff in a highly

the perpetrator of fraudulent

Se.

49. As a direct and proximate result of the Defendants’ conduct alleged herein,

Plaintiff has suffered general and special damages includ
Plaintiff's reputation, emotional distress, expense incurred

earnings, and other pecuniary loss.

ng, without limitation, harm to

in defense and her work, lost

50.Plaintiff is informed and believes and based thereon alleges that, in engaging

in the conduct alleged herein, defendants (a) acted with t
and harass plaintiff, (b) subjected plaintiff to cruel and

disregard of Plaintiffs rights, and acted with malice, (c) int

he intent to injure, vex, annoy
unjust hardship in conscious

entionally misrepresented and

concealed material facts known to the Defendants with the intention on the part of the

Defendants of thereby depriving Plaintiff of her legal rights

injury.

and otherwise cause Plaintiff

51. As a result of the foregoing, Plaintiff is entitled to exemplary and punitive

damages against Defendants.

17

 
THIRD CAUSE OF ACTION

Defamation
(As Against All Defendants
52. Plaintiff repeats and realleges each and eve
through 51, inclusive, of this Complaint and incorporate
though fully set forth herein.

53. The tweets, emails, website posts and blog p¢

ry allegation in paragraphs 1

*s the same by reference, as

sts about Plaintiff, read by an

audience numbering in the thousands, were deliberately, maliciously and knowingly false

and defamatory, and had a natural tendency io injure the
informed and believes and based thereon alleges that ever

official” (and thus a showing of “actual malice” is not req

Plaintiff's reputation. Plaintiff is
1 though Plaintiff is not a “public

uired by the first Amendment),

Defendants Portelos and Celli did make the statements mentioned herein either knowing

they were false or in reckless disregard of the truth and with actual malice, hatred and ill

will.
54. As a direct and proximate result of the Defen

Plaintiff has suffered general and special damages incluc

danits’ conduct alleged herein,

ing, without limitation, harm to

Plaintiff's reputation, emotional distress, expense incurred in defense of her actual

performance as an advocate, lost earnings, and other pec

55. Plaintiff is informed and believes and based the
in the conduct alleged herein, Defendants (a) acted with
and harass plaintiff, (b) subjected plaintiff to cruel and

disregard of plaintiff's rights, and (c) intentionally misrepre

uniary loss.

sreon alleges that, in engaging
the intent to injure, vex, annoy
unjust hardship in conscious

sented and concealed material

facts known to the Defendants with the intention on the part of the Defendants of thereby

18

 
depriving Plaintiff of her legal rights and otherwise cause Plaintiff injury. As a result of the

foregoing, Plaintiff is entitled to exemplary and punitive da

FOURTH CAUSE OF ACTIO

mages against Defendants.

N

Intentional infliction of Emotional Distress

(As Against All Defendants)

56. Plaintiff repeats and realleges each and eve!

through 55, inclusive, of this complaint and incorporate
though fully set forth herein.

57. Defendants’ intentional and/or reckless campé

y allegation in paragraphs 1

s the same by reference, as

ign of defamatory harassment

against Plaintiff and intentional and/or reckless disregard for the truth or facts were

beyond the bounds of decency and is therefore extreme a

58. As a direct and proximate result of the Defen
Plaintiff has suffered general and special damages incluc
Plaintiffs reputation, emotional distress, expense incurre

credit rating, lost earnings, and other pecuniary loss.

nd outrageous conduct.
dants’ conduct alleged herein,
ing, without limitation, harm to

d in defense and repair of her

59. Plaintiff is informed and believes and based thereon alleges that, in engaging

in the conduct alleged herein, defendants (a) acted with
and harass Plaintiff, (b) subjected plaintiff to cruel and
disregard of Plaintiff's rights, and (c) intentionally misrepre
facts known to the Defendants with the intention on the pé
depriving Plaintiff of her legal rights and otherwise cause

foregoing, Plaintiff is entitled to exemplary and punitive dé

19

the intent to injure, vex, annoy

unjust hardship in conscious
sented and concealed material
rt of the Defendants of thereby
laintiff injury. As a result of the

mages against defendants.

 
FIFTH CAUSE OF ACTION
Negligent Supervision

(As Against Glass, Departmen

60. Plaintiff repeats and realleges each and even

through 59, inclusive, of this complaint and incorporates

though fully set forth herein.
61. Plaintiff informed and believes and based therec

Departmeni and Glass did not exercise their supervisory

t)

allegation in paragraphs 1

; the same by reference, as

h alleges that Defendants the

authority over Portelos, Celli

and Harlow while engaged in the course and scope of their employment during business

hours and after.
62. Defendants Department and Glass were de
supervision in order to gain financially from the actions of
63. Thus liability for each and every cause of actior
Defendants Glass and the Department under the doctrine
64. As a direct and proximate result of Defenda
Plaintiff has suffered general and special damages includit

and reputation, emotional distress, lost earnings, and pec

SIXTH CAUSE OF ACTION.

Violation/Interference with Constitutiona!

Rights 42 U.S.C §1983 et seq.

65. Plaintiff repeats and realleges each and ever
through 64, inclusive, of this complaint and incorporates

though fully set forth herein.

20

liberately negligent in their

Harlow, Portelos and Celli.
listed herein may be imposed
of respondeat superior.

nts’ conduct alleged herein,

ag harm to Plaintiff's business

iniary loss.

ly Protected

y allegation in paragraphs 1

; the same by reference, as

 
66. Defendants’ infringement upon and violation of F

laintifPs rights protected under

the statutes listed above was and is intended to harm Plaintiff as an advocate for teachers,

and to place a chilling effect upon the exercise of such rights by Plaintiff.

67. Defendants’ conduct and actions are intenti
deliberate indifference and or reckless disregard for
consequences.

68. Defendants Glass and Department failed to inte
conduct and actions that deprived Plaintiff of her Constitut

69. As a direct result of Defendants actions describe
and continues to suffer trauma, emotional distress, menta
loss of her health.

70. As a result of the Defendants’ crusade to malic

now suffering and will continue to suffer irreparable injury

onal, malicious, taken with

the natural and probable

‘vene, prevent, or correct the
onai rights.
sc herein, Plaintiff has suffered

| anguish, loss of income, and

ously harm Plaintiff, Plaintiff is

and monetary damages.

SEVENTH CAUSE OF ACTION

42 U.S.C. §1983 — STATE AND MUNICIPA

Deprivation of Rights Under Color

71. Plaintiff repeats and realleges each and ever

through 70, inclusive, of this complaint and incorporates
though fully set forth herein.

72. It can be said that to condone lies, false docu

herein is contrary to Municipal Law and Public Officers La

73. As a result of the Defendants’ crusade to malic

now suffering and will continue to suffer irreparable injury a

21

| VIOLATIONS;
of Law
y allegation in paragraphs 1

the same by reference, as

mentation, and the acts cited
N.
ously harm Plaintiff, Plaintiff is

nd monetary damages, as well

 
as damages for mental anguish and is entitled to damages sustained to date and

continuing in an amount to be determined ait trial as well ¢

EIGHTH CAUSE OF ACTIO
Injurious Falsehood, Libel, Defamatory injur

$ punitive damages and costs.

N
¥ to Reputation,

Tortious Interference With Business Prospects

74. Plaintiff repeats and realleges each and eve

y allegation in paragraphs 1

through 73, inclusive, of this complaint and incorporates the same by reference, as

though fully set forth herein.

75. Defendanis deliberately and with malice created a scheme where Plaintiff

became the enemy of teachers in order for Defendants to
an advocate.
76. As a result of the Defendants’ crusade to malic

now suffering and will continue to suffer irreparable injury 4

stop Plaintiff from working as

iously harm Piaintiff, Plaintiff is

nd monetary damages, as well

as damages for mental anguish and is entitled to damages sustained to date and

continuing in an amount to be determined at trial as well 2

DEMAND FOR JURY TRIA
PLAINTIFF hereby demands a jury trial for all cau

$ punitive damages and costs.

ses of action and issues which

may be determined by jury under federal and/or New York State law.

PRAYER FOR RELIEF
WHEREFORE, PLAINTIFF prays for judgment aga

of them, on each and every cause of action as follows:

inst DEFENDANTS, and each

1. For general damages according to proof at trial by a jury.
2, Special damages according to proof at trial:

3. Award of exemplary damages:

4. Punitive damages;

22

 
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5. Deciaratory relief;

6. Directing Defendants to pay attorney's fees, compensatory damages,

penalties, interest, costs: and,

7. For such other and further relief as the Court deems just and proper.

Dated: April 12, 2017

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Respectfully submitted,
LUTHMANN LAW FIRM, PLLC

 

 

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